107 F.3d 867
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Patricia M. SMITH, Plaintiff-Appellant,v.HUNT MANUFACTURING COMPANY, Defendant-Appellee.
    No. 96-1097.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 13, 1997.Decided Feb. 25, 1997.
    
      Patricia M. Smith, Appellant Pro Se.  Randel Eugene Phillips, Karin Marie McGinnis, MOORE &amp; VAN ALLEN, Charlotte, NC, for Appellee.
      Before WIDENER and HAMILTON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order granting summary judgment for the Defendants in her Title VII discrimination and retaliation claims based on race.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Hunt Manufacturing Co., No. CA-94-131-5-H (W.D.N.C. Nov. 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    